                        Case: 3:15-cr-00067-JGC Doc #: 29 Filed: 11/05/15 1 of 6. PageID #: 152
AO 245B         (Rev. 09/15) Judgment in a Criminal Case
                6KHHW 



                                            81,7(' 67$7(6 ',675,&7 &2857
                                                           NORTHERN DISTRICT OF OHIO
                                                                                  
               81,7(' 67$7(6 2) $0(5,&$                                                   JUDGMENT IN A CRIMINAL CASE
                                    v.                                            
                                                                                  
                         Bartolo Dominguez
                                                                                          &DVH 1XPEHU 3:15-cr-00067
                                                                                          860 1XPEHU 60626-060
                                                                                  
                                                                                          Jeremy W. Levy
                                                                                           'HIHQGDQW¶V $WWRUQH\
THE DEFENDANT:
✔SOHDGHG JXLOW\ WR FRXQWV
G                                        one of the indictment.
G SOHDGHG QROR FRQWHQGHUH WR FRXQWV
   ZKLFK ZDV DFFHSWHG E\ WKH FRXUW
G ZDV IRXQG JXLOW\ RQ FRXQWV
   DIWHU D SOHD RI QRW JXLOW\

7KH GHIHQGDQW LV DGMXGLFDWHG JXLOW\ RI WKHVH RIIHQVHV

Title & Section                     Nature of Offense                                                               Offense Ended               Count

 8:1324(a)(1)(A)(ii),                Harboring and trafficking aliens for financial gain                              12/17/2014                 1

 1324(a)(1)(A)(v)(II), and 132




   See additional count(s) on page 2


      7KH GHIHQGDQW LV VHQWHQFHG DV SURYLGHG LQ SDJHV 2 WKURXJK 6                     RI WKLV MXGJPHQW The sentence is impRVHG SXUVXDQW Wo the
6HQWHQFLQJ 5HIRUP $FW RI 
G 7KH GHIHQGDQW KDV EHHQ IRXQG QRW JXLOW\ RQ FRXQWV
G &RXQWV                                                    G LV       G DUH dismiVVHG RQ WKH PRWLRQ RI WKH 8QLWHG 6WDWHV
         ,W LV RUGHUHG WKDW WKH GHIHQGDQW PXVW QRWLI\ WKH 8QLWHG6WDWHV DWWRUQH\ IRU WKLV GLVWULFW ZLWKLQ  GD\V RI DQ\ FKDQJH RI QDme UHVLGHQFH
RU PDLOLQJ DGGUHVV XQWLO DOO ILQHV UHVWLWXWLRQ FRVWV DQG VSHFLDO DVVHVVPHQWV LPSRVHG E\ WKLV MXGJPHQW DUH IXOO\ SDLG If RUGHUHG WR SD\ UHVWLWXWLRQ
WKH GHIHQGDQW PXVW QRWLI\ WKH FRXUW DQG 8QLWHG 6WDWHV DWWRUQH\ RI PDWHULDO FKDQJHV LQ HFRQRPLF FLUFXPVWDQFHV

                                                                                 11/02/2015
                                                                                  'DWH RI ,PSRVLWLRQ RI -XGJPHQW




                                                                                s/James G. Carr
                                                                                  Signature of Judge


                                                                                  James G. Carr              Sr. U.S. District Judge
                                                                                  1DPH RI -XGJH                                7LWOH RI -XGJH


                                                                                  11/05/15
                                                                                  'DWH
                    Case: 3:15-cr-00067-JGC Doc #: 29 Filed: 11/05/15 2 of 6. PageID #: 153
AO 245B      (Rev. 09/15) Judgment in a Criminal Case
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                                                                                                                      Judgment Page: 2 of 6
  '()(1'$17 Bartolo Dominguez
  &$6(180%(5 3:15-cr-00067


                                                                 IMPRISONMENT

           7KHGHIHQGDQWLVKHUHE\FRPPLWWHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV%XUHDXRI3ULVRQVWREHLPSULVRQHGIRUD
  WRWDOWHUPRI
   12 months




      G 7KHFRXUWPDNHVWKHIROORZLQJUHFRPPHQGDWLRQVWRWKH%XUHDXRI3ULVRQV




      ✔ 7KHGHIHQGDQWLVUHPDQGHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV0DUVKDO
      G

      G 7KHGHIHQGDQWVKDOOVXUUHQGHUWRWKH8QLWHG6WDWHV0DUVKDOIRUWKLVGLVWULFW
          G DW                                          G DP      G SP        RQ

          G DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

      G 7KHGHIHQGDQWVKDOOVXUUHQGHUIRUVHUYLFHRIVHQWHQFHDWWKHLQVWLWXWLRQGHVLJQDWHGE\WKH%XUHDXRI3ULVRQV
          G EHIRUH               RQ

          G DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO
          G DVQRWLILHGE\WKH3UREDWLRQRU3UHWULDO6HUYLFHV2IILFH


                                                                       RETURN
  ,KDYHH[HFXWHGWKLVMXGJPHQWDVIROORZV




          'HIHQGDQWGHOLYHUHGRQ                                                              WR

  D                                                      ZLWKDFHUWLILHGFRS\RIWKLVMXGJPHQW



                                                                                                         81,7('67$7(60$56+$/


                                                                               %\
                                                                                                      '(387<81,7('67$7(60$56+$/
                          Case: 3:15-cr-00067-JGC Doc #: 29 Filed: 11/05/15 3 of 6. PageID #: 154
 AO 245B          (Rev. 09/15) Judgment in a Criminal Case
                  6KHHW²6XSHUYLVHG5HOHDVH

                                                                                                                                               Judgment Page: 3 of 6
  '()(1'$17 Bartolo Dominguez
  &$6(180%(5 3:15-cr-00067
                                                                   SUPERVISED RELEASE
  8SRQUHOHDVHIURPLPSULVRQPHQWWKHGHIHQGDQWVKDOOEHRQVXSHUYLVHGUHOHDVHIRUDWHUPRI
   3 Years with the condition of deportation.


          7KHGHIHQGDQWPXVWUHSRUWWRWKHSUREDWLRQRIILFHLQWKHGLVWULFW WRZKLFKWKHGHIHQGDQWLVUHOHDVHGZLWKLQKRXUVRIUHOHDVH
                                                                                                                                        IURPWKH
  FXVWRG\RIWKH%XUHDXRI3ULVRQV
  7KHGHIHQGDQWVKDOOQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
  7KHGHIHQGDQWVKDOOQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFH7KHGHIHQGDQWVKDOOUHIUDLQIURPDQ\XQODZIXOXVHRIDFRQWUROOHG
  VXEVWDQFHThe defendant shall submitRQHGUXJWHVWZLWKLQGD\VRIUHOHDVHIURPLPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWV
  WKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW
  G 7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW¶VGHWHUPLQDWLRQWKDWWKHGHIHQGDQWSRVHVDORZULVNRI
           IXWXUHVXEVWDQFHDEXVH(Check, if applicable.)
  ✔ 7KHGHIHQGDQWVKDOOQRWSRVVHVVDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUDQ\RWKHUGDQJHURXVZHDSRQ(Check, if applicable.)
  G
  ✔ 7KHGHIHQGDQWVKDOOFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU(Check, if applicable.)
  G

  G 7KHGHIHQGDQWVKDOOFRPSO\ZLWKWKHUHTXLUHPHQWVRIWKH6H[2IIHQGHU5HJLVWUDWLRQDQG1RWLILFDWLRQ$FW86&et      seq
    DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKH%XUHDXRI3ULVRQVRUDQ\VWDWHVH[RIIHQGHUUHJLVWUDWLRQDJHQF\LQZKLFKKHRUVKHUHVLGHV
           ZRUNVLVDVWXGHQWRUZDVFRQYLFWHGRIDTXDOLI\LQJRIIHQVH(Check, if applicable.)

  G 7KHGHIHQGDQWVKDOOSDUWLFLSDWHLQDQDSSURYHGSURJUDPIRUGRPHVWLFYLROHQFH(Check, if applicable.)
          ,IWKLVMXGJPHQWLPSRVHVDILQHRUUHVWLWXWLRQLWLVDFRQGLWLRQRIVXSHUYLVHGUHOHDVHWKDWWKHGHIHQGDQWSD\LQDFFRUGDQFHZLWKWKH
  6FKHGXOHRI3D\PHQWVVKHHWRIWKLVMXGJPHQW
            7KHGHIHQGDQWPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVWKDW haYHEHHQDGRSWHGE\WKLVFRXUWDVZHOODVZLWKDQ\DGGLWLRQal FRQGLWLRQV
                                                                                                                                        
  RQWKHDWWDFKHGSDJH

                                                STANDARD CONDITIONS OF SUPERVISION
           WKHGHIHQGDQWVKDOOQRWOHDYHWKHMXGLFLDOGLVWULFWZLWKRXWWKHSHUPLVVLRQRIWKHFRXUWRUSUREDWLRQRIILFHU
           WKHGHIHQGDQWVKDOOUHSRUWWRWKHSUREDWLRQRIILFHULQDPDQQHUDQGIUHTXHQF\GLUHFWHGE\WKHFRXUW
             RUWKHSUREDWLRQRIILFHU
           WKHGHIHQGDQWVKDOODQVZHUWUXWKIXOO\DOOLQTXLULHVE\WKHSUREDWLRQRIILFHUDQGIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHU
           WKHGHIHQGDQWVKDOOVXSSRUWKLVRUKHUGHSHQGHQWVDQGPHHWRWKHUIDPLO\UHVSRQVLELOLWLHV
          WKHGHIHQGDQWVKDOO comply with the Northern District of Ohio Offender Employment Policy which may include participation in
            training, education, counseling and/or daily job search as directed by the pretrial services and probation officer. If not in compliance
            with the condition of supervision requiring full-time employment at a lawful occupation, the defendant may be directed to perform
            up to 20 hours of community service per week until employed, as approved or directed by the pretrial services and probation officer.
           WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWWHQGD\VSULRUWRDQ\FKDQJHLQUHVLGHQFHRUHPSOR\PHQW
           WKHGHIHQGDQWVKDOOUHIUDLQIURPH[FHVVLYHXVHRIDOFRKRODQGVKDOOQRWSXUFKDVHSRVVHVVXVHGLVWULEXWHRUDGPLQLVWHUDQ\
             FRQWUROOHGVXEVWDQFHRUDQ\SDUDSKHUQDOLDUHODWHGWRDQ\FRQWUROOHGVXEVWDQFHVH[FHSWDVSUHVFULEHGE\DSK\VLFLDQ
           WKHGHIHQGDQWVKDOOQRWIUHTXHQWSODFHVZKHUHFRQWUROOHGVXEVWDQFHVDUHLOOHJDOO\VROGXVHGGLVWULEXWHGRUDGPLQLVWHUHG
           WKHGHIHQGDQWVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQVHQJDJHGLQFULPLQDODFWLYLW\DQGVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQFRQYLFWHGRID
             IHORQ\XQOHVVJUDQWHGSHUPLVVLRQWRGRVRE\WKHSUREDWLRQRIILFHU
     ) tKHGHIHQGDQWVKDOOSHUPLWDSUREDWLRQRIILFHUWRYLVLWKLPRUKHUDWDQ\WLPHDWKRPHRUHOVHZKHUHDQGVKDOOSHUPLWFRQILVFDWLRQRIDQ\
         FRQWUDEDQGREVHUYHGLQSODLQYLHZRIWKHSUREDWLRQRIILFHU
           WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUZLWKLQVHYHQW \WZRKRXUVRIEHLQJDUUHVWHGRUTXHVWLRQHGE\DODZHQIRUFHPHQWRIILFHU
           WKHGHIHQGDQWVKDOOQRWHQWHULQWRDQ\DJUHHPeQWWRDFWDVDQ iQIRUPHURU DVSHFLDODJHQWRIDODZHQIRUFHPHQWDJHQF\ZLWKRXtWKH
              SHUPLVVLRQRIWKHFRXUWDQG

          DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKHGHIHQGDQWVKDOOQRWLI\WKLUGSDUWLHVRIULVNVWKDWPD\EHRFFDVLRQHGE\WKHGHIHQGDQW¶VFULPLQDO
             UHFRUGRUSHUVRQDOKLVWRU\RUFKDUDFWHULVWLFVDQGVKDOOSHUPiWWK HSUREDWLRQRIILFHUWRPaNHVXFKQRtLILFDWLRQVDQGWRFRQILUP WKH
             GHIHQGDQW¶VFRPSOLDQFHZLWKVXFKQRWLILFDWLRQUHTXLUHPHQW
6QPOGJOEJOHPGBWJPMBUJPOPGQSPCBUJPOPSTVQFSWJTFESFMFBTF*VOEFSTUBOEUIBUUIFDPVSUNBZ	
SFWPLFTVQFSWJTJPO	
FYUFOEUIFUFSNPGTVQFSWJTJPOBOE
PS	
NPEJGZUIFDPOEJUJPOTPGTVQFSWJTJPO5IFTFDPOEJUJPOTIBWFCFFOSFBEUPNF*GVMMZVOEFSTUBOEUIFDPOEJUJPOTBOEIBWFCFFOQSPWJEFEBDPQZPGUIFN
%BUFE@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@
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                   Case: 3:15-cr-00067-JGC Doc #: 29 Filed: 11/05/15 4 of 6. PageID #: 155
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                                                                                                       Judgment Page: 4 of 6
 '()(1'$17 Bartolo Dominguez
 &$6(180%(5 3:15-cr-00067

                                         SPECIAL CONDITIONS OF SUPERVISION
  Deportation
  The defendant shall surrender to the Bureau of Immigration and Customs Enforcement, U.S. Department of Homeland
  Security for deportation as provided by law, and shall not illegally re-enter or remain in the United States.

  Forfeiture
  The defendant shall forfeit his interest in the following property to the United States, pursuant to 8 USC § 1324(b)(1) and
  28 USC § 2461, as it was used in the commission of the offense charged in the Indictment in this case:
  2010 Ford Econoline E350, Extended Club Wagon (white in color), Ohio plate, PHW2661, VIN: 1FBSS3BL6ADA03270
  (approximate value: $12,475.00)

  Restitution

  The defendant shall pay restitution in the amount of $3500.00 to Warsi Castillo through the Clerk of the U.S. District Court.
  Restitution is due and payable immediately.

  Notwithstanding establishment of a payment schedule, nothing shall prohibit the United States from executing or levying
  upon property of the defendant discovered before and after the date of this Judgment.

  The Court waives the interest requirement in this case.
                     Case: 3:15-cr-00067-JGC Doc #: 29 Filed: 11/05/15 5 of 6. PageID #: 156
AO 245B       (Rev. 09/15) Judgment in a Criminal Case
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                                                                                                                   Judgment Page: 5 of 6
 '()(1'$17 Bartolo Dominguez
 &$6(180%(5 3:15-cr-00067
                                                CRIMINAL MONETARY PENALTIES
      7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                        Assessment                                      Fine                              Restitution
 TOTALS             $ 100.00                                          $ 6,500.00                       $ 3,500.00


 G7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO                 $QAmended Judgement in a Criminal Case (AO 245C) ZLOOEHHQWHUHG
     DIWHUVXFKGHWHUPLQDWLRQ

 ✔ 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQLQFOXGLQJFRPPXQLW\UHVWLWXWLRQWRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
 G
     ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
     WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86&LDOOQRQIHGHUDOYLFWLPsPXVWEHSDLG
     EHIRUHWKH8QLWHG6WDWHVLVSDLG

 Name of Payee                                                    Total Loss*              Restitution Ordered      Priority or Percentage

  Warsi Castillo                                                                                       $3,500.00




TOTALS                                                                             $0.00               $3,500.00


G     5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

G     7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUHWKH
      ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86&I$OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
      WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86&J

✔ 7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW
G
      ✔ WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRUWKH
      G                                                      ✔ ILQH
                                                             G          ✔ UHVWLWXWLRQ
                                                                        G
      G WKHLQWHUHVWUHTXLUHPHQWIRUWKH           G ILQH    G UHVWLWXWLRQLVPRGLILHGDVIROORZV


)LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRr RIIHQVHVFRPPLWWHGRQRUDIWHU
                                                                                                                 
6HSWHPEHUEXWEHIRUH$SULO
                    Case: 3:15-cr-00067-JGC Doc #: 29 Filed: 11/05/15 6 of 6. PageID #: 157
AO 245B      (Rev. 09/15) Judgment in a Criminal Case
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                                                                                                                              Judgment Page: 6 of 6
'()(1'$17 Bartolo Dominguez
&$6(180%(5 3:15-cr-00067

                                                        SCHEDULE OF PAYMENTS

+DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVLVGXHDVIROORZV

A    G /XPSVXPSD\PHQWRI                                   GXHLPPHGLDWHO\EDODQFHGXH

          G      QRWODWHUWKDQ                                      RU
          G      LQDFFRUGDQFH          G &        G '        G      (RU     G )EHORZRU
B    G 3D\PHQWWREHJLQLPPHGLDWHO\PD\EHFRPELQHGZLWK                     G &        G 'RU       G )EHORZRU
C    G 3D\PHQWLQHTXDO                             (e.g., weekly, monthly, quarterly) LQVWDOOPHQWVRI                            RYHUDSHULRGRI
                          (e.g., months or years)WRFRPPHQFH                       (e.g., 30 or 60 days)DIWHUWKHGDWHRIWKLVMXGJPHQWRU

D    G 3D\PHQWLQHTXDO                             (e.g., weekly, monthly, quarterly)LQVWDOOPHQWVRI                         RYHUDSHULRGRI
                          (e.g., months or years)WRFRPPHQFH                       (e.g., 30 or 60 days)DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
          WHUPRIVXSHUYLVLRQRU

E    G 3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                    (e.g., 30 or 60 days)DIWHUUHOHDVHIURP
          LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

F    ✔ 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV
     G
           [✔] A special assessment of $ ____________
                                          100.00                                                 one.
                                                       is due in full immediately as to count(s) _________________________________.
           Mailed payments are to be sent and made payable to the Clerk, U.S. District Court, 801 West Superior Ave., Cleveland, OH 44113-1830.

          [ ] After the defendant is released from imprisonment, and within 30 days of the commencement of the term of supervised release, the probation
          officer shall recommend a revised payment schedule to the Court to satisfy any unpaid balance of the restitution. The Court will enter an order
          establishing a schedule of payments.


8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLIWKLVMudgmeQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVLVGXHGXULQJ
LPSULVRQPHQW$OOFULPLQDOPRQHWDU\SHQDOWLHVH[FHpW WKRVH SD\PHQWVP DGHWKURXJKWKH)HGHUDO%XUHDXRI3ULVRQV¶,QPaWH)LQDQFLDO
5HVSRQVLELOLW\3URJUDPDUHPDGHWRWKHFOHUNRIWKHFRXUW

7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG



G -RLQWDQG6HYHUDO
     'HIHQGDQWDQG&R'HIHQGDQW1DPHVDQG&DVH1XPEHUV(including defendant number)7RWDO$PRXQW-RLQWDQG6HYHUDO$PRXQW
     DQGFRUUHVSRQGLQJSD\HHLIDSSURSULDWH




G 7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ
G 7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVWV
✔ 7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV
G
      2010 Ford Econoline E350, Extended Club Wagon (white in color), Ohio plate, PHW2661, VIN: 1FBSS3BL6ADA03270
      (approximate value: $12,475.00)

3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHUDVVHVVPHQWUHVWLWXWLRQSULQFLSDOUHVWLWXWLRQLQWHUHVWILQHSULQFLSDO
ILQHLQWHUHVWFRPPXQLW\UHVWLWXWLRQSHQDOWLHVDQGFRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQGFRXUWFRVWV
